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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                                   )   CHAPTER 11
                                                         )
ATLANTA LIGHT BULBS, INC.,                               )   CASE NO.: 22-52950-PMB
                                                         )
           Debtor.                                       )

                   MOTION FOR APPOINTMENT OF CHAPTER 11 TRUSTEE

           COMES NOW, The Official Committee of Unsecured Creditors of Atlanta Light Bulbs,

Inc. (the “Committee”), and moves this Court to authorize the appointment of a chapter 11 trustee

pursuant to 11 U.S.C. § 1104(a) (the “Motion”). As grounds for such relief and in support of its

motion, the Committee states as follows:

                                               INTRODUCTION

           1.       Section 1104(a) of the United States Bankruptcy Code1 allows for the appointment

of a trustee during a chapter 11 bankruptcy case before the confirmation of a plan (i) for cause,

including fraud, dishonesty, incompetence, or gross mismanagement of the affairs of the debtor by

current management, either before or after the commencement of the case…; or (ii) if such

appointment is in the interests of creditors, any equity security holders, and other interests of the

estate, without regard to the number of holders of securities of the debtor or the amount of assets

or liabilities of the debtor. See 11 U.S.C. § 1104(a). Based on the facts, and for the reasons stated

below, the appointment of a chapter 11 trustee is appropriate in this case for cause and based on

the best interests of creditors.




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    11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).
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                                         JURISDICTION

       2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter constitutes a core proceeding pursuant to 28 U.S.C. § 157.

                                PRELIMINARY STATEMENT

       3.      The debtor, Atlanta Light Bulbs, Inc. (the “Debtor”) has not shown up in this case

in any way. Notwithstanding clear deadlines to do so, the Debtor has failed to respond to the

involuntary petition, file a creditor matrix, schedules or statement of financial affairs, and to the

best of the Committee’s knowledge, to respond to Rule 2004 discovery issued by Tandem Bank

(the “Bank”). Simply put, the Debtor has not participated in this case and has blown deadlines to

file critical documents. The fact that the Debtor has not shown up militates strongly in favor of

the appointment of a chapter 11 trustee. Creditors and other parties-in-interest are entitled an

opportunity to ascertain the scope of the Debtor’s assets, liabilities and financial affairs, and that

cannot be done with a Debtor in absentia.

       4.      In addition, there is significant value in this Debtor and in the bankruptcy process

for all creditors. Specifically, the Committee understands that an investigation undertaken by the

50% shareholder of the Debtor has uncovered significant transfers to insiders of the Debtor in the

past two years that are actionable and subject to clawback for the benefit of the estate and its

creditors. The Committee understands that the transfers discovered to date, when recovered by

the estate, will dwarf the amount owed to the Bank, thus paying the Bank in full and providing a

meaningful distribution for unsecured creditors. And that is just the tip of the iceberg. Through

the bankruptcy process, additional transfers and other potential causes of action might be

discovered through further investigation that will provide additional avenues for recovery by

unsecured creditors.



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        5.      In addition, the Debtor itself has significant value as a going concern, but it must

be managed properly through the bankruptcy process in order for the estate and its creditors to

realize that value. Various constituents who have deep historical dealings with, and knowledge

of, the Debtor and its operations have offered to the Committee that the Debtor’s business has real

value in the lighting industry. Some of the parties who have offered this viewpoint include

multiple members of the Committee who have done business with the Debtor for years and who

have similar, or even virtually identical, businesses, know the industry, and know that there is real

value in the Debtor’s business. In addition, the 50% shareholder who conducted the investigation

noted above is the former Vice President of Sales for the Debtor who worked there since 2008.

He has deep historical and industry knowledge and experience and the Committee understands it

to be his belief that with better management, the Debtor’s business is very valuable in the industry

and can either be reorganized or sold in a manner that would result in a meaningful distribution to

unsecured creditors.

        6.      Appointment of a chapter 11 trustee is the best way to realize the significant value

for creditors in this Debtor and the bankruptcy process. The appointment of a chapter 11 trustee

who can properly manage the business through a successful reorganization or sale is in the best

interests of creditors.

                                         BACKGROUND

        7.      The Debtor is a Georgia corporation is in the lighting business and operating at a

business location of 2109 Mountain Industrial Blvd., Tucker, Georgia 30084.

        8.      Each of the members of the Committee was a supplier to the Debtor and is owed

significant amounts on account of unpaid invoices for goods sold and delivered.




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       9.        For many months prior to filing this involuntary bankruptcy case, the members of

the Committee collectively sought to negotiate with the Debtor in an effort to have those

outstanding debts satisfied. In order to engage in a meaningful and effective negotiation, the

members of the Committee sought certain customary financial information from the Debtor. For

months, information was promised to be forthcoming, but the Committee members were never

provided with any of the requested information. In addition, they were not paid and no meaningful

payment proposal was ever made. As a result, the members of the Committee filed this involuntary

bankruptcy proceeding.

                                     PROCEDURAL HISTORY

       10.       On April 15, 2022 (the “Petition Date”), the members of the Committee, as

petitioning creditors, filed an involuntary petition [Docket No. 1] (the “Involuntary Petition”)

against the Debtor under chapter 11 of the Bankruptcy Code.

       11.       On May 23, 2022, an Order for Relief Under Chapter 11 (the “Order for Relief”)

[Docket No. 21] was entered.

       12.       Since the Petition Date, the Debtor has not:

                Responded to the Involuntary Petition;

                Appeared or participated in this case in any way whatsoever;

                Filed an appearance of counsel;

                Filed a creditor matrix (it is already well past the court-imposed deadline to do so);

                Filed its schedules;

                Filed its statement of financial affairs;

                Responded to Rule 2004 discovery issued by the alleged secured creditor, the Bank;
                 or

                Appeared at a Rule 2004 deposition noticed by the Bank.


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       13.     On June 6, 2022, the Committee was formed.

      FACTS SUPPORTING THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

       14.     In support of its Motion, the Committee refers to and incorporates by reference the

factual averments set forth in the Response of Jesse Root to Motion of Tandem Bank to Dismiss

Case [Docket No. 41] (“Jesse’s Response”).

       15.     Jesse Root (“Jesse”) is a son of the Debtor’s founder and a 50% shareholder of the

Debtor. Jesse began working at the Debtor in 2008, ultimately becoming its Vice President of

Sales in charge of the entire sales function for the Debtor. As such, Jesse has a deep and historical

understanding of the Debtor’s business operations. Jesse’s father, Gary, had been the sole

shareholder of the Debtor until the shares were transferred to Jesse and his brother as equal 50%

owners.

       16.     In 2017, when Jesse’s father passed away, Jesse’s brother sold his 50% ownership

interest to Jessica Mendoza who remains a 50% shareholder with Jesse. Upon acquiring her

ownership stake, Jessica also took on the role of CEO.

       17.     After Ms. Mendoza acquired her shares and took on a management role at the

company, Jesse began to notice various financial irregularities at the business. As a result, in his

role as a 50% shareholder, Jesse requested that Ms. Mendoza provide certain financial information

and access to the company’s books and records. Rather than share the requested financial

information, Ms. Mendoza fired Jesse from his longtime role with the company he co-owns.

       18.     Subsequently, Jesse engaged legal counsel which hired a private investigator to

investigate use of funds by the Debtor. The investigator’s findings are alarming. The Committee

understands that the investigator uncovered improper transfers of funds from the Debtor to insiders

in the past approximately one-and-one-half years totaling in excess of $1.8 million. Specifically,



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of the $1.8 million that was transferred to insiders during that time period, nearly $600,000 went

to Ms. Mendoza and another more than $1.2 million went to her boyfriend, Robert Taitz. It is

noteworthy that, on information and belief, Ms. Mendoza never received anywhere near $600,000

in compensation for her role at the company since she acquired her shares and began working at

the business. In addition, payments to Ms. Mendoza totaling that amount cannot be distributions

because Jesse, as an equal shareholder with Ms. Mendoza, would have been entitled to receive the

same distributions as her, but he did not. Further, the more than $1.2 million that was transferred

to her boyfriend was not, on information and belief, earned compensation or payments in

satisfaction of any debt owed by the Debtor to Mr. Taitz. As such, these payments would appear

to be fraudulent transfers that are subject to avoidance and recoverable for the benefit of the estate

and its creditors. As stated above, this amount far exceeds the approximately $600,000 – 700,000

the Committee understands the Bank claims to be owed. Further investigation during the course

of this bankruptcy proceeding could reveal additional recoveries that would be available to the

estate and its creditors through other avoidance actions.

        19.      Aside from transfers, there is ample information to conclude that the Debtor

continues to operate.2 As noted in Jesse’s Response, Jesse and his counsel have independently

undertaken efforts to confirm the continued operation of the Debtor’s business. Details regarding

their informal investigation are provided in Jesse’s Response. A chapter 11 trustee must take

charge of the Debtor’s business operation and its obligations in this bankruptcy case. However, at

initial blush, it could be that the Debtor’s current management continues to operate the Debtor for

its own benefit, without accounting to this Court or the bankruptcy estate for revenues that continue

to be generated, thus thumbing their nose at the bankruptcy process. Or it could be that the


2
 Of course, it supports the immediate appointment of a chapter 11 trustee if the Debtor continues to operate without
accounting to the estate, which the Committee believes might be the case.

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Debtor’s current management is running a competing business, possibly using assets of the estate

to do so, thus creating an alter ego claim, among other potential claims.

       20.     In addition, members of the Committee have both driven to and observed obvious

business activities taking place at the Debtor’s main facility and have placed phone calls to the

Debtor’s business to confirm willingness and ability to continue to take orders. The immediate

appointment of a chapter 11 trustee is both warranted and necessary to preserve and protect the

assets of the estate and the value of the Debtor’s business so that the chapter 11 process can run its

course with a meaningful opportunity for a reorganization or sale of the business that would likely

provide a meaningful recovery for all creditors. This cannot be accomplished with current

management in place: a chapter 11 trustee must be placed at the helm of this operation in order to

preserve, protect and create value.

       21.     The members of the Committee – each a vendor with a longstanding business

relationship with the Debtor – have been engaged in business in the lighting industry for years and

have a deep knowledge of the industry. As a result of that deep knowledge and experience of the

industry, and specifically of the Debtor’s business, the Committee believes that there is real value

in the business as a going concern – value that can be realized through a reorganization or sale of

the business, provided that competent and experienced management is put in place to run the

Debtor through a chapter 11 process until a reorganization or sale. In addition, the Committee

understands that Jesse, with his deep understanding of the Debtor’s business, his intimate

knowledge of the industry due to his family’s involvement for decades, and his customer

relationships stemming from his role in charge of sales for years at the company, is willing and

interested in assisting a chapter 11 trustee in running the business to a reorganization or sale, and




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that he also would be willing to discuss a role with the company with a buyer which further

enhances the company’s value and saleability.

                                      LEGAL AUTHORITY

       22.     Section 1104(a) of the Bankruptcy Code provides:

               (a) At any time after the commencement of the case but before
               confirmation of a plan, on request of a party in interest or the United
               States trustee, and after notice and a hearing, the court shall order
               the appointment of a trustee—

               (1) for cause, including fraud, dishonesty, incompetence, or gross
               mismanagement of the affairs of the debtor by current management,
               either before or after the commencement of the case, or similar
               cause, but not including the number of holders of securities of the
               debtor or the amount of assets or liabilities of the debtor; or

               (2) if such appointment is in the interests of creditors, any equity
               security holders, and other interests of the estate, without regard to
               the number of holders of securities of the debtor or the amount of
               assets or liabilities of the debtor.

11 U.S.C. § 1104 (emphasis added). Thus, there are two avenues to appointment: for cause via

§ 1104(a)(1), and the “interests of creditors” standard via § 1104(a)(2).

       23.     The evidentiary standard for an appointment of a Chapter 11 trustee is

preponderance of the evidence. See Synovus Bank v. Brooks (In re Brooks), 448 B.R. 483, 489

(Bankr. N.D. Ga. 2013); see also Keeley & Grabanski Land P’ship v. Keeley (In re Keeley &

Grabanski Land P’ship), 455 B.R. 153, 163 (B.A.P. 8th Cir. 2011) (“[T]he proper standard for a

party seeking the appointment of a Chapter 11 trustee is preponderance of the evidence.”).

Moreover, the decision of whether to appoint a trustee is vested in discretion of the bankruptcy

court, and is reviewed on an abuse of discretion standard. In re Intercat, Inc., 247 B.R. 911, 920

(Bankr. S.D. Ga. 2000); but see In re YC Atlanta Hotel, LLC, 630 B.R. 348, 365 (Bankr. N.D. Ga.

2021) (noting that this discretion is limited to findings of “cause” or “best interest.” If one/both

found, there is no choice but to appoint a trustee).

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       24.     As courts in this District have noted, satisfying the standard for appointment

essentially forces the court’s hand. See, e.g., Intercat, 247 B.R. at 923 (“Having concluded that

“cause” has been established … the Court shall order the appointment of a trustee.”). Moreover,

appointment of a chapter 11 trustee is critical in order “to preserve the integrity of the bankruptcy

process and to insure that the interests of the creditors are served.” Id. at 920.

       25.     Section 1104(a)(1) specifically lists "fraud, dishonesty, incompetence, or gross

mismanagement of the affairs of the debtor by current management, either before or after the

commencement of the case" as several non-exclusive examples of “cause.” Courts in this district

have previously found that “[w]hile current management may bring talents to the business that

may contribute to its success, their fiscal and operational abuses convince the Court that they lack

the business acumen and discipline to institute the fiscal and managerial controls and procedures

necessary to turn this enterprise around” and thus requiring the assistance of a chapter 11 trustee.

In re La Sherene, Inc., 3 B.R. 169, 175 (Bankr. N.D. G.A. 1980). Furthermore, “[f]uture plans,

revealed by current management through testimony or much harder evidence, will not condone

past management frauds, dishonesty, gross mismanagement, or incompetence so as to overcome

the statutory requirement of Section 1104(a)(1) for the appointment of a trustee.” Id.

       26.     Other factors affecting a court's decision to appoint a chapter 11 trustee include

self-dealing by management or waste or squandering of corporate assets. Crescive Landscape

Mgmt., Inc. v. PHDC, LLC (In re PHDC, LLC), No. 03-93397, 2004 WL 5846712, at *3 (Bankr.

N.D. Ga. Apr. 28, 2004) (Bihary, J.) (citing In re Intercat, Inc., 247 B.R. 911, 920-21 (Bankr. S.D.

Ga. 2000) (Davis, J.).

       27.     "Courts may also appoint a trustee under § 1104(a)(2) when it is in the best interest

of creditors. Under § 1104(a)(2), the Court tries to determine whether the benefits to the estate



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will outweigh the costs involved in appointing a trustee." Crescive Landscape Mgmt., Inc. v.

PHDC, LLC (In re PHDC, LLC), No. 03-93397, 2004 WL 5846712, at *3 (Bankr. N.D. Ga. Apr.

28, 2004) (Bihary, J.) (citing In re SunCruz Casinos, LLC, 298 B.R. 821, 829

(Bankr.S.D.Fla.2003); 7 Collier on Bankruptcy ¶ 1104.02[3][d][ii] (15th ed.2003)). A debtor-in-

possession stands in a trust relationship with the estate and creditors, and is prohibited from self-

dealing and acting in a manner that could damage the estate, harm creditors, or hinder a successful

reorganization of the business. Microwave Products, 102 B.R. at 671 (citing In re Sharon Steel

Corp., 86 B.R. 455 (Bankr. W.D.Pa. 1988)).

          28.    All of these factors are applicable in the instant case for the reasons set forth below.

Accordingly, the Court should grant the Committee’s motion under either section 1104(a)(1) or

(a)(2).

                 1.      Appointment “for Cause” in this Case Pursuant to 11 U.S.C. § 1104(a)(1)

          29.    As outlined above, 11 U.S.C. § 1104(a)(1) identifies four bases upon which courts

may find “cause”: fraud, dishonesty, incompetence, and gross mismanagement. This list, however,

is not exhaustive. Intercat, 247 B.R. at 920–21 (citing and discussing cases across various

jurisdictions finding the same). Additional factors on which the appointment decision turns

include:

          1) Materiality of the misconduct;

          2) Evenhandedness or lack of same in dealings with insiders or affiliated entities
          vis-a-vis other creditors or customers;

          3) The existence of pre-petition voidable preferences or fraudulent transfers;

          4) Unwillingness or inability of management to pursue estate causes of action;

          5) Conflicts of interest on the part of management interfering with its ability to
          fulfill fiduciary duties to the debtor;


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        6) Self-dealing by management or waste or squandering of corporate assets.


Id. at 921.

        30.       Potentially relevant to this matter is In re PHDC, LLC, which focused on factor 6

above and specifically noted that appointment of a trustee under § 1104(a)(1) is appropriate where

the debtor has diverted funds or failed to explain the diversion of funds. In re PHDC, LLC, No.

03-93397, 2004 WL 5846712, at *3 (Bankr. N.D. Ga. Apr. 28, 2004) (citing In re PRS Ins. Group,

Inc., 274 B.R. 381 (Bankr. D. Del. 2001)). The same decision also noted that “cause” can be found

where there is a history of transactions between the debtor and related companies, as well as where

the debtor has failed to keep adequate records and make prompt and complete reports. Id. (citing

In re Oklahoma Refining Co., 838 F.2d 1133, 1136 (10th Cir. 1988)).

        31.       Another court noted that “fiscal and operational abuses” were sufficient to

overcome the presumption in favor of current management and warrant the assistance of a Chapter

11 trustee. In re La Sherene, Inc., 3 B.R. 169, 175 (Bankr. N.D. Ga. 1980). Yet another held that

while a certain amount of pre-petition mismanagement may not be sufficient appointment grounds,

“continuing mismanagement of the affairs after the filing date is evidence of the need for the

appointment of a trustee.” YC Atlanta Hotel, 630 B.R. at 366.

        32.       In this case, “cause” clearly exists for the appointment of a chapter 11 trustee. In

fact, the bases are obvious. At a minimum, both fraud and dishonesty are present by virtue of:

                 The more than $1.8 million in prepetition transfers to insiders that have been
                  discovered to date;

                 Current management’s complete failure to participate in the bankruptcy process,
                  notwithstanding being served properly with the Involuntary Petition;

                 Current management continuing to run the Debtor’s business – or potentially a
                  competing business using estate assets – without accounting to the estate or
                  reporting to the Court; and


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                Apart from the significant monetary transfers, the Committee has learned that office
                 furniture and related assets were recently removed from office space previously
                 occupied by the Debtor.

       33.       Consideration of additional factors also militates strongly in favor of appointment

of a chapter 11 trustee:

                The misconduct is material:

                      o Current management transferred significant amounts from the Debtor to
                        line their own pockets, all while leaving its vendors and its bank unpaid;

                      o Current management continues to run the Debtor’s business for its own
                        benefit while this bankruptcy case is pending;

                Lack of evenhanded dealings between insiders and other creditors:

                      o Current management lined their own pockets while not paying their
                        vendors;

                Obvious prepetition voidable fraudulent transfers made by Debtor’s current
                 management to themselves clearly exist;

                Current management certainly would be unwilling, and has a conflict with,
                 pursuing estate causes of action, including fraudulent transfers and possible alter
                 ego claims, among others, because those causes of action are against the Debtor’s
                 current management; and

                Current management has engaged in obvious self-dealing by transferring over $1.8
                 million to themselves and by continuing to run the Debtor’s business postpetition
                 for their own benefit.

       34.       Based on all of the foregoing, because “cause” plainly exists, this Court “shall”

appoint a chapter 11 trustee: under section 1104(a), the appointment of a chapter 11 trustee is

mandatory once the Court finds that “cause” exists.

                 2.      Appointment for the “Best Interest of Creditors” in this Case Pursuant to
                         11 U.S.C. § 1104(a)(2)

       35.       As also mentioned above, courts may also appoint a trustee when it is best interest

of the creditors, pursuant to 11 U.S.C. § 1104(a)(2). Under this standard, the court must determine

whether the benefits to the estate will outweigh the costs involved in appointing a trustee. PHDC,

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2004 WL 5846712, at *3. This standard is flexible, and the court should consider the “practical

realities and necessities of the case.” YC Atlanta Hotel 630 B.R. at 370. Under this standard, courts

consider the following factors:

       (1) the trustworthiness of the debtor;

       (2) the debtor in possession's past and present performance and prospects for the
       debtor's rehabilitation;

       (3) the confidence–or lack thereof–of the business community and of creditors in
       present management; and

       (4) the benefits derived by the appointment of a trustee balanced against the cost of
       the appointment.

Id. (citing In re Eurospark Indus., Inc., 424 B.R. 621, 627 (Bankr. E.D.N.Y. 2010)).

       36.     No showing of wrongful behavior on the part of management is required, as long

as interested parties can show a meaningful benefit from the appointment of a trustee. YC Atlanta

Hotel, 630 B.R. at 365. Rather, this section allows for an “exercise of a spectrum of discretionary

powers and equitable considerations, including a cost-benefit analysis.” Id. (citing In re SunCruz

Casinos, LLC, 298 B.R. 821, 829 (Bankr. S.D. Fla. 2003)).

       37.     Nevertheless, the conduct of debtor’s management can certainly be relevant to an

interests determination. One court found that an existing conflict of interest of management

indicated that an appointment would clearly be in the best interests of creditors. Matter of Fiesta

Homes of Georgia, Inc., 125 B.R. 321, 326 (Bankr. S.D. Ga. 1990).

       38.     In this case, the best interests of creditors are clearly supported by the appointment

of a chapter 11 trustee. Current management is not trustworthy for all of the reasons stated above.

The Debtor has real value based upon the knowledge and experience of both Jesse and members

of the Committee: there is a real likelihood that a plan can be confirmed or a going concern sale

can be effect with proper oversight, guidance and management by a competent and experienced

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chapter 11 trustee. The vendor community plainly has significant distaste for current management

given their malfeasance. However, those same vendors view significant value in the Debtor’s

business. As a result, the benefit of a chapter 11 trustee easily outweighs the cost. Without a

trustee, this case cannot proceed in any meaningful manner given the Debtor’s complete lack of

participation in the process. This leaves unsecured creditors with no likelihood of any recovery.

On the other hand, the appointment of a chapter 11 trustee manage the Debtor through the

bankruptcy process will enable creditors to realize the significant value in this case, both through

clawback and other causes of action and through a reorganization or sale of the business.

       WHEREFORE, the Committee requests that the Court: (i) enter an order directing the

appointment of a chapter 11 trustee to perform the duties and responsibilities of a trustee under the

Bankruptcy Code; (ii) enter an order directing the Debtor and it respective managers, independent

contractors, partners, agents, affiliates, servants, attorneys, officers, directors, shareholders, and

employees, and all those persons acting in concert or participation with them, under their control

or on their behalf, directly or indirectly, to turn over possession and control of any and all estate

property, to the appointed chapter 11 trustee; and (iii) grant any other or further relief in favor of

the Committee that this Court deems fair and equitable under the circumstances.




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Dated: June 13, 2022                     Respectfully submitted,

                                         THE OFFICIAL COMMITTEE OF UNSECURED
                                         CREDITORS OF ATLANTA LIGHT BULBS, INC.


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                                 CERTIFICATE OF SERVICE

       This is to certify that on June 13, 2022, I electronically filed the foregoing Motion for

Appointment of Chapter 11 Trustee with the Clerk of Court using the CM/ECF system, which

automatically sent e-mail notifications of such filing to the below listed attorneys of record:

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and that I also served the below parties via USPS with proper postage affixed:


       Atlanta Light Bulbs, Inc.                          American Express Travel Related Services
       2109 Mountain Industrial Blvd                      Co., Inc.
       Tucker, GA 30084                                   c/o Zwicker and Associates, P.C.
                                                          Attorneys/Agents for Creditor
                                                          P.O. Box 9043
                                                          Andover, MA 01810-1041



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      Bryan Kaplan                                    CBC Lighting Inc.
      6065 Roswell Road, Suite 540                    Kaplan Legal Services, LLC
      Atlanta, GA 30328                               6065 Roswell Road, Suite 540
                                                      Atlanta, GA 30328

      Fanlight Corporation, Inc.                      Ford Motor Credit Company, LLC
      c/o Simpson, Uchitel & Wilson, LLP              Drawer 55-953
      P.O. Box 550105                                 P.O. Box 55000
      Atlanta, GA 30355-2505                          Detroit, MI 48255-0953

      Hatch Transformers, Inc., d/b/a Hatch           Worldwide Specialty Lamp, LLC
      Lighting                                        c/o Bryan Kaplan, Esq.
      c/o Simpson, Uchitel & Wilson, LLP              6065 Roswell Road, Suite 540
      P.O BOX 550105                                  Atlanta, GA 30328
      Atlanta, GA 303055-2505




                                           By: /s/Kathleen G. Furr
                                           Kathleen G. Furr (GA Bar No. 589008)

                                           [Proposed] Co-Counsel for the Official Committee
                                           of Unsecured Creditors of Atlanta Light Bulbs, Inc.




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